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                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

Clifford F. Tuttle, Jr, et al.

v.                                             Case Number: 4:21−cv−00270

City Of Houston, et al.




                                 NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN RESET
FOR THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Alfred H Bennett
PLACE:
Courtroom 9A
United States District Court
515 Rusk Ave
Houston, TX
DATE: 5/29/2024

TIME: 10:00 AM
TYPE OF PROCEEDING: Status Conference


Date: May 19, 2024
                                                          Nathan Ochsner, Clerk
